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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,
          Plaintiffs,

      v.

PATRICK BYRNE,                          Civil Action No. 1:21-cv-02131 (CJN)

            Defendant.



       DOMINION’S EMERGENCY MOTION FOR PROTECTIVE RELIEF
                    AND TO DISQUALIFY COUNSEL




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       Dominion seeks the Court’s immediate assistance in addressing a flagrant and ongoing

breach of this Court’s order that has already, and will continue to, irreparably harm Dominion,

including, but not limited to, jeopardizing the physical safety of Dominion employees. The facts

are as follows.

       Unbeknownst to Dominion, Defendant Patrick Byrne provided attorney Stefanie Lambert

with access to Documents produced by Dominion in this case. Prior to three days ago, Lambert

was not an attorney of record in this case and Dominion had no knowledge that she was working

with Byrne. Lambert has a well-documented history of violating court orders and improperly

accessing voting information, activities that have resulted in disciplinary referrals, an indictment,

and an open bench warrant. She never should have been entrusted with these documents in the first

instance—and particularly not without notice to Dominion and this Court. Were there any doubt,

her own explanation of her subsequent actions confirms this: According to Lambert, Byrne

instructed her to share an unknown number of Dominion’s documents, including documents

stamped “Confidential” pursuant to the Court’s governing protective order, with individuals

outside of this case. Lambert did so. This instruction, and Lambert’s willing compliance, are clear

violations of this Court’s order.

       But Lambert’s misconduct does not end there. Not only did Lambert follow her client’s

instruction to share Dominion’s documents with an unknown number of individuals, she also filed

dozens of them publicly in an unrelated proceeding (to which Dominion is not a party), and they

have now been viewed by tens of thousands of users on social media. This too is a clear violation

of this Court’s Order. Indeed, these documents are now being used for the specific purpose of

spreading yet more lies about Dominion.




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       Predictably, Lambert’s actions have led to new threats to Dominion employees, including,

by way of example only, a voicemail left on Saturday, March 9, accusing Dominion of “breaking

our elections” and stating that “America should just fucking hang all you motherfuckers,” and the

below social media post:




Ex. 1 (redacted). This is not the first time Dominion and its employees have been subjected to

online harassment, or even direct physical threats. Far from it. From social media calls to lynch

Dominion personnel to a man armed with a rifle who came to their offices,1 Dominion’s employees

have directly suffered the consequences of the lies spread by Byrne and his fellow defendants.

They now fear further threats due to conduct of his counsel done at his direction.

       When confronted with her breach, Lambert did not claim confusion about what was or was

not permitted under this Court’s Order. Rather, she claimed her contempt of court was required

given that—in her warped view—the documents show evidence of “criminal activity.” Ex. 2.

Never mind that courts have repeatedly, emphatically rejected the notion that Dominion did

anything other than facilitate a secure election in 2020. Or that the documents Lambert disclosed

show absolutely no evidence whatsoever of any “criminal activity.” (Best Dominion can tell, Byrne




1
 See https://www.9news.com/article/news/politics/elections/judge-grants-restraining-order-
dominion-ceo-after-threats/73-0936af88-365c-4c2c-b8b9-9e65f391ea38.

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and Lambert’s xenophobic conclusion is that any email from non-US-based Dominion personnel

is conclusive evidence of criminal activity.)

          Rather than answer Dominion’s questions about what documents she shared and with

whom, Lambert’s reaction to Dominion’s inquirers was to accuse Dominion’s attorneys of record

in this case of themselves being criminals:




Ex. 2.

          Meanwhile, Lambert’s client has not shown remorse, but rather took to X to brag about

having personally funded and “authorized” another effort to misuse confidential information—

former Mesa County Election Clerk Tina Peters’ publication of data regarding Dominion’s voting

systems, for which Peters has been criminally indicted.




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Ex. 4 (emphasis added). And he has publicly acknowledged Lambert for her violation of the

Protective Order.




Ex. 5.

          These actions should shock the conscience. They reflect a total disregard for this Court’s

orders, to say nothing of the safety of Dominion employees. This Court should not permit this

flagrant disregard for judicial process and the Professional Rules of Conduct.

          For these reasons, and the reasons articulated below, Dominion requests that Lambert, who

only appeared as counsel of record for Byrne this week, be promptly disqualified. Dominion

further requests the Court’s guidance on a process for briefing what sanctions should befall



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Lambert, Byrne, and any other lawyers or individuals whose conduct, following a full accounting

of those acts, warrants it. Dominion does not take lightly a request to disqualify counsel. But no

other remedy is appropriate given these incredible circumstances.

        In sum, Dominion respectfully requests that the Court immediately enter an emergency

order: (1) Requiring Patrick Byrne and his counsel Stefanie Lambert to return or destroy any copies

of Dominion documents in their personal possession; (2) Prohibiting Byrne and Lambert from

accessing Dominion’s confidential documents housed by third-party vendors until the Court has

ruled upon Dominion’s motions to disqualify Lambert and anticipated motion for sanctions; and

(3) Ordering Byrne, Lambert, and Byrne’s prior counsel from the firm of McGlinchey Stafford

PLLC to provide an accounting concerning the breach’s scope and extent. Dominion further

requests that the Court disqualify Lambert as counsel in this case.

  I.    BACKGROUND

        A.     The parties agreed to a robust protective order in light of the heightened
               concern regarding potential disclosure of information in this case.

        Given the national security concerns regarding voting machine information and the

personal security concerns for Dominion employees—many of whom have been the subject of

threats in the past—Dominion negotiated, and the Court entered, a strict Protective Order in this

case. Specifically, that order provides that discovery material produced in the litigation (whether

stamped confidential or not) will be used “solely for purposes of this Litigation and no Receiving

Party will provide Discovery Material to any person or entity (including for any other litigation)

or make any Discovery Material public except as permitted by this Order and in this Litigation.”

Ex. 6, ¶ 1. The Order provides specific carve-outs for Dominion’s production in its litigation

against Fox News Network, Fox Corporation, and Newsmax, and for Sydney Powell’s use in the




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disciplinary proceeding against her (subject to a notice requirement) but does not otherwise permit

parties to disclose discovery materials in any other litigation. Id.

       In addition, under no circumstances can a party unilaterally publicly file materials that have

been marked “Confidential” by the producing party. See id., ¶¶ 12–15, 27.

       The Protective Order specifically states that the parties reserve the right to apply “for an

order seeking additional safeguards with respect to the use and handling of Discovery Material or

to modify the terms of this Order.” Id., ¶17.

       The Order contains specific requirements in the event of a breach of its terms. Specifically,

it provides that in the event confidential material “is disclosed to any person other than in the

manner authorized by this Order,” or that any party’s counsel (or other non-party) learns “there

was or is likely to be” a breach, the responsible counsel “will immediately inform the Designating

and Producing Party of all pertinent facts relating to the disclosure or loss of confidentiality,

including, if known, the name, address, and employer of each person to whom the disclosure was

made.” Id., ¶ 27. The counsel “responsible for the disclosure or loss of confidentiality will also

make reasonable efforts to prevent disclosure of Confidential or Attorneys’ Eyes Only Discovery

Material by each unauthorized person who receives the information.” Id.

       Finally, unlike a typical protective order, this one explicitly provides for the availability of

sanctions in the event of a violation, stating:

       If a Party violates this Order by releasing, leaking, or otherwise disclosing
       Confidential or Attorneys’ Eyes Only Discovery Material to persons or entities not
       entitled to such Discovery Material under this Order, the Court will have authority
       to impose sanctions under Rule 37(b)(2)(A)(i)-(vi).

Id., ¶ 29. While defendants objected to this language, Dominion insisted on its inclusion

given its serious concerns about the security of its information, the safety of its employees,

and the history of court order violations by some of the defendants.


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       The Court retains jurisdiction over all persons subject to the Protective Order to

enforce any obligations arising under it or to impose sanctions for violations. Id., ¶ 30.

       B.      Supposed Counsel for Patrick Byrne, Stefanie Lambert, violated the protective
               order at Byrne’s direction.

       This past Monday, March 11, 2024, shortly before close of business, then-counsel of record

for Byrne, Robert Driscoll, notified Dominion via email that “Confidential Discovery Material

produced by Dominion in this case has been disclosed in a public filing in Michigan by Stefanie

Lambert.” Ex. 7. Driscoll explained that Lambert—who at the time had never appeared in this

case—had access to this material “as an attorney for Patrick Byrne who was assisting in this

litigation.” Id. Lambert had signed the Protective Order governing this case, and Driscoll’s email

attached her signed undertaking of the order. See Ex. 8. Driscoll further stated that Lambert shared

Dominion’s Confidential Discovery Material with a non-party (Sheriff Dar Leaf of Barry County,

Michigan) and publicly disclosed Dominion’s Confidential Information as part of a filing she made

in the criminal case People of the State of Michigan vs. Stefanie Lynn Lambert Junttila, currently

pending before the Sixth Circuit Court in Oakland County, Michigan. Ex. 7.

       Lambert’s leak had immediate consequences: thousands of social media users have viewed

Dominion’s confidential information. As indicated below, a social media post embedding an email

between Dominion employees marked as “Confidential” and included among the documents

Lambert disclosed had at least 13,600 views as of the date of this filing—and is being cited to stir

up anti-Dominion sentiment.




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Ex. 9 (redacted). The social media user who posted the emails also posted a call for Dominion’s

CEO, John Poulos, to be “hung for sedition,” embedding an affidavit from Dar Leaf that cites to

the Dominion emails provided by Lambert (and indicates Leaf has possession of an undisclosed

number of other Dominion documents). This post has been viewed by at least 81,000 users.




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Ex. 1 (redacted).

       Counsel for Dominion responded to Driscoll the same day that he provided notice of

Lambert’s violation of the protective order requesting full information regarding the extent of her

breach and seeking assurance that Lambert no longer had access to Dominion’s confidential

discovery material. Ex. 10. Prior to answering all of Dominion’s questions, Driscoll and the other



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attorneys from his firm withdrew from the case the following day—Tuesday, March 12, 2024. See

Dkt. 72.

       C.      Lambert refuses to provide information about the scope of her breach and
               refuses to confirm she will abide by the Protective Order going forward.

       The same day that Driscoll and his colleagues from the McGlinchey firm withdrew—one

day after their close-of-business disclosure of Lambert’s blatant breach of the Protective Order—

Lambert entered her appearance as counsel for Byrne. Dkt. 71. That morning, prior to the

McGlinchey firm’s withdrawal, Dominion met and conferred with counsel for all of the individual

defendants in related litigation before this Court over zoom and informed them that Dominion

intended to raise Lambert’s violation with the Court. Lambert, presumably invited to that call by

the McGlinchey team, joined for the tail end of the conference. Also that day, Dominion’s counsel

emailed Lambert and Byrne’s withdrawn attorneys requesting a list of all persons that they or their

client had given access to Dominion’s documents produced in this litigation (other than what

Byrne’s withdrawn counsel had already disclosed the day before). Ex. 11. Counsel for Byrne did

not provide the requested information. Instead, Lambert responded by accusing Dominion’s

counsel of aiding nonexistent “criminal activity.” Ex. 2.

       To date, Lambert has not provided Dominion with the requested information regarding to

whom she has disclosed Dominion’s discovery material—as required under the Protective Order—

nor has she confirmed that she will abide by the Protective Order moving forward (not that any

such confirmation would hold any weight at this juncture). Accordingly, out of serious concern

regarding the safety of its confidential information, and its employees, Dominion sent letters to the

third-party vendors hosting Dominion’s Confidential Discovery information on March 14,

notifying them of Lambert’s breach and of the instant request for relief and asking them not to

provide Lambert, Byrne, or members of their team access to Dominion’s confidential information


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until the Court has provided further guidance. Exs. 12 & 13. Dominion provided notice to Byrne’s

counsel (past and present). Lambert responded with her own letters to those vendors the following

day, claiming that Dominion’s confidential discovery materials produced in this litigation are “not

covered by the Amended Protective Order” because again, in Lambert’s view, they are “evidence

of criminal violations.” Exs. 14 & 15.

       D.      Lambert has a history of misconduct in her campaign against Dominion.

       Lambert’s leaking of Dominion’s confidential information produced in this litigation is

only the latest in a long string of conduct demonstrating Lambert’s vendetta against Dominion and

her disregard for the rule of law. Lambert is involved in efforts across at least multiple states to

access information stored in Dominion voting machines, and she has consistently violated court

and ethical rules in the process. The following provides only a sample of her conduct.

       After becoming a “Kraken” team attorney in failed efforts to overturn the 2020 presidential

election results in Michigan, which included an effort to impound voting machines, Lambert (who

has also gone by the names Stefanie Junttila and Stefanie Lambert Junttila) was one of nine

attorneys who were reprimanded and referred for sanctions by Judge Linda Parker for “exploit[ing]

their privilege and access to the judicial process” to “disseminate allegations of fraud unsupported

by law or fact.” King v. Whitmer, 556 F. Supp. 3d 680, 688 (E.D. Mich. 2021), aff’d in part, rev’d

in part, 71 F.4th 511 (6th Cir. 2023) and aff’d in part, rev’d in part, 71 F.4th 511 (6th Cir. 2023).

Judge Parker’s scathing ruling described their efforts as a “profound and historic abuse of the

judicial process.” Id. The Sixth Circuit reversed sanctions as to Lambert not because the district

court erred in its finding regarding the baseless nature of the litigation Lambert chose to associate

herself with, but because she simply appeared too late in the case. See King v. Whitmer, 71 F.4th

511, 531 (6th Cir. 2023).



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       In August 2022, Michigan’s governor, attorney general, and secretary of state submitted a

complaint to the Michigan Attorney Grievance Commission calling for disciplinary action and

potential disbarment against Lambert, noting that she and others “orchestrated a coordinated plan

to gain access to voting tabulators” in four Michigan counties. Ex. 16 at 2. Lambert is now facing

a felony indictment on multiple charges related to alleged tampering with voting systems following

the 2020 election, including a charge for “undue possession of a voting machine,” with a criminal

trial scheduled for April 2024. Ex. 17. Earlier this month, an Oakland County Circuit Court judge

issued a bench warrant for Lambert’s arrest after multiple failures to appear and comply with court

orders in the case.2

       Lambert’s effort to gain access to Dominion information by any means possible—and her

disregard for judicial rules in the process—has not been limited to Michigan. Lambert served as

counsel in a Pennsylvania state case involving a decision by two Fulton County commissioners

to allow unauthorized access to and copying of voting systems and data. See generally Cnty. of

Fulton v. Sec’y of Commonwealth, 292 A.3d 974 (Pa. 2023). In April 2023, the Pennsylvania

Supreme Court issued sanctions against the county and its attorneys based on repeated violations

of a court protective order prohibiting unauthorized voting machine inspections and referred

Lambert (whose pro hac vice application had been repeatedly rejected and who therefore never


       2
          A copy of the bench warrant was not available in time for this filing, but it is referenced
on               the             case              docket                accessible                at
https://courtexplorer.oakgov.com/OaklandCounty/SearchCases/ViewAction?CaseNo=9UFUJkd
XZ3J5uZ7u9W2zOA%3D%3D, and has been reported on by multiple news publications. See, e.g.,
Danielle Ferguson, LAW360, “Atty Who Skipped Vote-Tampering Hearing Can’t Ditch Warrant”
(March 13, 2024), available at https://www.law360.com/pulse/courts/articles/1813432/atty-who-
skipped-vote-tampering-hearing-can-t-ditch-warrant; Jon King, MICHIGAN ADVANCE, “Warrant
for Lambert Junttila remains as she misses another hearing in tabulator tampering case” (March
13, 2024), available at https://michiganadvance.com/2024/03/13/warrant-for-lambert-junttila-
remains-as-she-misses-another-hearing-in-tabulator-tampering-
case/#:~:text=Matis%20issued%20the%20warrant%20for,as%20directed%20by%20the%20cour
t.

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appeared) for disciplinary review in Michigan. Id. at 1019–20 (noting that even without her formal

admission, the Court was “not powerless to call attention to Attorney Lambert’s own role in the

misconduct”). The Pennsylvania Supreme Court found that the county “and its various attorneys”

had “engaged in a sustained, deliberate pattern of dilatory, obdurate and vexatious conduct and

have acted in bad faith throughout these sanction proceedings.” Id. at 979.

       Because access to or release of Dominion’s voting equipment and software implicates both

Dominion’s proprietary concerns and election integrity in general, the Pennsylvania Supreme

Court ordered that “[a]ny effort to seek access to, or release of, the voting equipment” must be

directed to the court.” Id. at 1020. Yet despite this clear order that any future permission to provide

access to or release of the voting equipment (including its software) be requested from the court,

Lambert’s client Fulton County publicly voted to allow a forensic report regarding Dominion’s

systems and other confidential evidence to be used by other “clients of Stefanie Lambert with

common interests.” Ex. 18. Dominion was forced to file an emergency motion to enforce the

Pennsylvania Supreme Court’s order. The court granted the motion, enjoining dissemination of

Dominion’s confidential information to Lambert’s clients. Ex. 19.

       As yet a final example of Lambert’s misuse of Dominion information, in Curling v.

Raffensperger, No. 1:17-CV-2989-AT, 2023 WL 7463462 (N.D. Ga. Nov. 10, 2023), the court

found that Lambert directed the transmission of a disc drive with forensic material copied at the

Coffee County Elections Office—which uses Dominion Voting equipment and software—to a

private investigator in her employ, compromising that county’s election equipment and data. Id.

at *23. Lambert further disseminated the information on that drive, sharing it with a “digital

security firm.” Id.




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      Repeatedly failing in the courts, Lambert has taken her campaign against Dominion to

social media—including as recently as March 15, 2024, when she publicly posted an email

exchange involving one of Dominion’s vendors to the “X” social media platform in a post

claiming “subversion and vote shifting.” Ex. 3. Previously, in a December 28, 2023, letter posted

widely across the “X” social media platform, Lambert asked U.S. Congressman Jim Jordan to

investigate a bizarre (and nonexistent) conspiracy involving Dominion voting machines, former

U.S. Attorney General Bill Barr, and the federal U.S. Election Assistance Commission. Ex. 20.

And in February 2024, she again took to X to falsely accuse Dominion CEO John Poulos of

perjury during his December 2020 testimony before the Michigan Senate Oversight Committee—

even though this same committee found no evidence of machine fraud or company wrongdoing

in its 2021 report on the 2020 election. Ex. 21.

      Lambert’s representation to Dominion that she violated the Protective Order at Byrne’s

direction continues a pattern of willful misconduct not only by Lambert, but also by Byrne.

According to a March 9, 2024, post by Byrne on X, he “authorized” the activity of Mesa County

clerk Tina Peters, who has been indicted for her involvement in the internet publication of

confidential digital images of Dominion Voting Systems equipment and related passwords, Ex.

22 at 6, and he paid the “cyber-forensics” person who assisted her. Ex. 5 (screenshot supra, p.6).

As with Lambert, Dominion has not received any information regarding to whom Byrne has

disclosed Dominion’s confidential information nor any assurances that he will abide by the terms

of the Protective Order going forward—though any such assurances would ring hollow given

repeated past misconduct.




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 II.    ARGUMENT

        A.     The Court should immediately enter an emergency order prohibiting Lambert
               and Byrne from accessing Dominion’s confidential information.

        The Court “has inherent authority to prevent misconduct under the discovery rules.”

Lebron v. Powell, 217 F.R.D. 72, 77 (D.D.C. 2003); see also Chambers v. NASCO, Inc., 501 U.S.

32, 44–45 (1991) (a “primary aspect” of a court’s inherent power “is the ability to fashion an

appropriate sanction for conduct which abuses the judicial process”). Indeed, this “inherent power

extends to a full range of litigation abuses.” Chambers, 501 U.S. at 46; Young v. Office of U.S.

Senate Sergeant at Arms, 217 F.R.D. 61, 65 (D.D.C. 2003) (citing courts’ “inherent power to

impose sanctions for abusive litigation practices undertaken in bad faith”).

        Both Lambert and Byrne have abused the discovery process and willfully violated the

protective order entered by this Court. Lambert does not deny this: on the contrary, she admits that

she disclosed Dominion’s confidential documents produced in discovery and that she did so

pursuant to directions from of her client and her unilateral assessment—based on false claims that

have been rejected by every court to consider Dominion’s involvement in the 2020 election—that

those documents somehow relate to “criminal acts.” Ex. 2. Meanwhile, Dominion’s confidential

documents have been viewed by tens of thousands of users on social media due to Lambert’s

wanton disregard for her obligations under the protective order entered by this Court—a copy of

which Lambert herself signed. It is not the case that she was unaware of the Court’s order (nor

does she claim otherwise). Given Lambert’s knowing breach of the Protective Order and her

continued refusal to abide by its requirements and provide Dominion with full information

regarding dissemination of Dominion’s discovery material by her and her client, Dominion is

deeply concerned about further disclosures in violation of the Protective Order. This includes

disclosure not only of sensitive business information, but of personal information about Dominion


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employees that could be publicly posted to “dox” those employees and put them and their families

at risk—as has happened in the past.

       The Court should exercise its inherent authority to ensure compliance with its orders and

immediately enter an emergency order (1) requiring Lambert and Byrne to return or destroy any

copies of Dominion discovery material in their possession, (2) prohibiting Lambert and Byrne

from accessing Dominion’s confidential documents housed by third-party vendors until the Court

has ruled upon Dominion’s motion to disqualify and forthcoming motion for sanctions, and

(3) ordering Byrne and Lambert to provide a full accounting—in the form of a sworn affidavit—

detailing the scope and extent of their breach, as previously requested in Dominion’s March 12,

2024 correspondence. Specifically:

           •   The date of any fee agreement between Lambert and Byrne and the scope of

               representation or, if no such agreement exists, the date on which Lambert and Byrne

               understand that a lawyer/client relationship began so that Dominion can assess

               whether Lambert was entitled to receive access to Dominion’s confidential

               discovery information in the first instance;

           •   A complete and accurate list of all Dominion-produced documents and information

               Byrne reviewed and the method and date of access;

           •   An accounting from Byrne’s outside vendor showing what documents Byrne and

               or Lambert accessed, on what date, and whether they were downloaded; as well as

               any other data the vendor indicates may be helpful to Dominion’s or this Court’s

               efforts to understand the breach;

           •   A complete and accurate list of all Dominion-produced documents and information

               Lambert received and the method and date of access;



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              •   An account of every step Lambert and Byrne’s prior counsel from the McGlinchey

                  firm, has already undertaken or that is underway to determine the scope of the

                  breach and to ensure it is not continuing; and

              •   An accounting attesting (i) to whom Lambert and/or Byrne leaked, released, or

                  otherwise disclosed documents or information protected by the Protective Order

                  (including in court filings in any cases outside of this case); (ii) how and when they

                  provided it; (iii) every occasion on which they did so; and (iv) for each such

                  instance, what specifically was leaked, released, or otherwise disclosed.

       B.         The Court should disqualify Lambert from serving as counsel for Byrne.

       “[A] federal court has the power to control admission to its bar and to discipline attorneys

who appear before it.” Chambers, 501 U.S. at 43 (citing Ex parte Burr, 9 Wheat. 529, 531, 6 L.Ed.

152 (1824)). “[T]he district court bears responsibility for supervising the members of its bar and

its exercise of this supervisory duty is discretionary.” Groper v. Taff, 717 F.2d 1415, 1418 (D.C.

Cir. 1983).

       As one court in this district has explained,

       [m]otions to disqualify are governed by two sources of authority. First, attorneys
       are bound by the local rules of the court in which they appear. Federal district courts
       usually adopt the Rules of Professional Conduct of the states where they are
       situated. Second, because motions to disqualify counsel in federal proceedings are
       substantive motions affecting the rights of the parties, they are decided by applying
       standards developed under federal law.

Paul v. Judicial Watch, Inc., 571 F. Supp. 2d 17, 20 (D.D.C. 2008) (citation omitted). The District

of Columbia Rules of Professional Conduct govern the practice of law in this District. Id.

       If the Court finds that an attorney violated the rules, the D.C. Circuit has held that

disqualification is appropriate where the lawyer’s “ability to act as a zealous and effective advocate

for the client” is compromised, or if the representation poses “a substantial possibility of an unfair


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advantage to the current client because of counsel’s prior representation of the opposing party.”

Koller v. Richardson-Merrell, Inc., 737 F.2d 1038, 1056 (D.C. Cir. 1984), vacated on other

grounds, 472 U.S. 424 (1985). Absent these circumstances, a court should grant disqualification

only “in cases of truly egregious misconduct likely to infect future proceedings.” Id. This is that

“truly egregious case.”

              1.       Lambert has violated the D.C. Rules of Professional Conduct.

       D.C. Rule of Professional Conduct 3.4(c) states that a lawyer shall not “[k]nowingly

disobey an obligation under the rules of a tribunal except for an open refusal based on an assertion

that no valid obligation exists.” Lambert has willfully violated this rule.

       Lambert knew of her obligations under the Protective Order: she signed a copy

acknowledging as much. Ex. 8. Despite this, she both directly shared Dominion’s confidential

information with an unauthorized third party and publicly filed dozens of pages of it in another,

separate matter (to which Dominion was not a party). See Ex. 7. When confronted with her

violation, she did not feign ignorance of her duties under the Court’s order. Instead, she claimed

that she had provided “evidence of criminal acts” to “law enforcement,” at Byrne’s direction. Ex.

2; see also Exs. 14 & 15. And she has further failed to comply with Protective Order by refusing

to provide Dominion with full information regarding the persons to whom she has disclosed

information obtained from Dominion in discovery. See Ex. 6, ¶ 27.

       Lambert does not, and cannot, contest the requirements set forth in the Protective Order,

which itself contemplates sanctions if breached. Rather, she apparently believes that she has the

unilateral authority to decide whether or not she needs to comply. As a barred, licensed attorney,

Lambert is well aware that court orders are not optional (and, lest she had any doubt, the

disciplinary referrals, bench warrant, and sanctions entered against her by various courts have



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surely apprised her of that fact). The only question for this Court, then, is whether her violation

warrants disqualification. It does.

                2.       Lambert’s egregious conduct warrants disqualification because lesser
                         sanctions will not protect the integrity of this litigation.

        Motions to disqualify arise rarely, and hardly ever outside the context of conflicts of

interest. But the facts of this case are not ordinary. Given Lambert’s well-documented historical

efforts to obtain and misuse Dominion confidential information, her pattern of disregard for

judicial rules, and her willful and ongoing violation of the Protective Order in this case, the only

way to ensure the integrity of this litigation moving forward is to remove Lambert from this case.

        In Koller, the D.C. Circuit explained that disqualification should be granted only in

exceptional cases because “less prejudicial” means are “ordinarily available to deal with ethical

improprieties by counsel.” Koller, 737 F.2d at 1056. Specifically, the Circuit Court listed such

alternative sanctions:

        [T]he court may issue a formal reprimand or, in more serious cases, a contempt
        citation either during or after the proceedings; it may also refer possible ethical
        improprieties to the disciplinary bodies of the local bar or, in the case of attorneys
        admitted pro hac vice, to the bar of the attorney’s home state.

Id. at 1056 n.49. This illustrates precisely why disqualification is appropriate—and necessary—

here. Courts have imposed not just one of these lesser sanctions on Lambert for her misconduct in

pursuit of her campaign against Dominion and her misuse of its information—she has been subject

to all of them. Specifically, courts have:

   •    Referred Lambert for disciplinary review in Michigan for her role in misconduct involving

        repeated protective order violations in a Pennsylvania case, Cnty. of Fulton, 292 A.3d at

        1019;




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    •    Reprimanded her and referred her for sanctions for “disseminat[ing] allegations of fraud”

         by Dominion “unsupported by law or fact,” King, 556 F. Supp. 3d at 688; and

    •    Issued a bench warrant for Lambert’s arrest after multiple failures to comply with court

         orders in a case related to alleged tampering with voting systems following the 2020

         election, supra, p.14;

As her “pattern of dilatory, obdurate and vexatious conduct” shows, Cnty. of Fulton, 292 A.3d at

979, Stefanie Lambert is entirely unfazed by court reprimands and disciplinary proceedings. Her

knowing, ongoing, violation of the Protective Order further confirms this.

         Lambert’s conduct plainly meets the requirements for civil contempt,3 but an order holding

Lambert in contempt does not provide any meaningful relief to Dominion. Having demonstrated

that she has no qualms about violating this Court’s orders (or those of any other court), Dominion

cannot be in the position of entrusting Lambert with highly sensitive, confidential information that

impacts its business, and the safety of its own employees and our nation’s election workers. This

is particularly so given the widespread conspiracy theories about Dominion already pervading the

internet (thanks to the defamatory campaigns of the defendants in this case). Information about

Dominion now draws interest, and social media allows for its viral dissemination. Just one week

after Lambert leaked Dominion’s confidential emails, they have been viewed by thousands of

social media users, and even just a single post referencing those emails has been viewed by tens

of thousands more. See Exs. 1 & 9. The only viable means of ensuring the security of Dominion’s

confidential information and the safety of its employees is to disqualify Lambert from serving as

counsel in this case.




3
 Civil contempt sanctions may be imposed when a party “violates a definite and specific court
order” of which the party is aware. Pigford v. Veneman, 307 F. Supp. 2d 51, 55–56 (D.D.C. 2004).

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        C.     Dominion reserves the right to move for additional sanctions against Byrne
               and any other party or non-party found to have violated the Court’s Protective
               Order.

        Lambert has represented that she violated the Protective Order at the direction of Patrick

Byrne. Ex. 2. Like Lambert, Byrne has yet to provide Dominion with any information regarding

any other persons to whom he has disclosed Dominion’s discovery material—though he has

publicly acknowledged his attorney for her improper disclosure. Ex. 5. Dominion does not

presently have sufficient information about Byrne’s conduct to determine what sanctions it intends

to seek. However, Dominion insisted on an express provision in the Protective Order empowering

the Court to impose severe sanctions for leaking confidential information because it feared

precisely this scenario. Dominion reserves the right to seek sanctions from Byrne and any other

persons bound by the Protective Order that it learns have violated its terms. Dominion will raise a

schedule for such motion with the Court during the hearing set for Monday, March 18, 2024.

III.    CONCLUSION

        For the reasons set forth here, Dominion respectfully requests that the Court immediately

enter an emergency order (1) requiring Patrick Byrne and counsel Stefanie Lambert to return or

destroy any copies of Dominion confidential documents in their personal possession,

(2) prohibiting Byrne and Lambert from accessing Dominion’s confidential documents housed by

third-party vendors until the Court has ruled upon Dominion’s motions to disqualify Lambert and

anticipated motion for sanctions as to Byrne, and (3) ordering Byrne and Lambert to provide the

information listed supra, pp.18–19. Dominion further requests that this Court disqualify Lambert

as counsel in this case.


 Dated: March 15, 2024                            Respectfully submitted,

                                            By: /s/ Davida Brook
                                                Davida Brook (D.C. Bar No. CA00117)

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                                 CERTIFICATE OF SERVICE

       I, Davida Brook, hereby certify that on March 15, 2024, true and correct copies of the

forgoing was served via email on counsel of record for every party in US Dominion, et al. v. Patrick

Byrne No. 1:21-cv-02131 (CJN).

                                                             /s/ Davida Brook




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